Case 4:97-cv-00555-WDB-JC Document 292 Filed 06/28/00 Page 1 of 2

FLED ‘4 LODGED» L

Tr peceiveD COPY _\Z_ FILED LODGED
“oT UNITED STATES DIsirrtct PRSEXFO ———COPy
Gerk v 2052" CORR DISTRICT OF ARIZONA jun 9 g 2909
psi CF ON TY
a CLERK U S DISTRICT COURT

5 : (1) Tohono O’odham Nation, DISTRICT OF ARIZONA

' DEPUTY
6 , Plaintiff, No. CIV 97-555-
7 VS.
8 (2) Wayne Evans, et al., ORDER REGARDING FUNDS
HELD BY DEFENDANT
9 Defendants. VOICE OF GOD

RECORDINGS, INC.

10 (2) Wayne Evans and (11) Western
Pacific Construction, Inc.,

Nee Noe Sree eee ee” ee” See ee” eee” eee” “eee” wena’ “eee” ee” “ame” “rape” Sane” ame” “nee” roger” ‘ee

Counterclaimants,
12
VS.

13

| (1) Tohono O’odham Nation,
14

i Counter-Defendant.
15 :
16 Pursuant to the Stipulation of plaintiff, the Tohono O’odham Nation, and defendant,

17 Voice of God Recordings, Inc., and good cause appearing therefore,

19 IT IS HEREBY ORDERED that this Court’s April 29, 1998 Order freezing the Voice
20 of God Recordings, Inc.’s funds held in a Certificate of Deposit with NBD Bank, N.A.,

21 account number 49642747 is vacated;

23 | IT IS FURTHER ORDERED that NBD Bank, N.A., shall deliver to counsel for the
24 Nation acashier’s check in the amount of $820,000.00. The check shall be delivered to Lane
25 1 D. Oden, Esq., Fines & Oden, P.L.C., 627 N. Sixth Avenue, Tucson, AZ 85705-8300; and
Case 4:97-cv-00555-WDB-JC Document 292 Filed 06/28/00 Page 2 of 2

IT IS FURTHER ORDERED that Voice of God Recordings, Inc. may retain the
balance of the funds held in account number 49642747.

DATED this 2 day of , 2000.

LAL D. Browning <

United States District Court Judge

